                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                        DOCKET NO.: 3:07CR195-RJC-DCK


UNITED STATES OF AMERICA,              )
                                       )
v.                                     )
                                       )
JESUS BALDERAS,                        )
_______________________________________)


       FOR GOOD CAUSE SHOWN, and on Motion for Admittance Pro Hac Vice

(Document #34) filed October 1, 2007, IT IS HEREBY ORDERED, ADJUDGED AND

DECREED that Heriberto ‘Eddie’ Medrano in Harlingen, Texas be admitted to practice

pro hac vice before this Court in order to represent, Defendant, Jesus Balderas in the

above-captioned case.

       SO ORDERED.

                                           Signed: October 3, 2007




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